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                                    United States District Court
                                SOUTHERN DISTRICT OF FLORIDA

                                                           AMENDED EXHIBIT LIST
  United States v. Donald Howard Conkright             CASE NO. 19-10017-CR-MOORE

                                               ASSISTANT UNITED
PRESIDING JUDGE                                                              DEFENSE ATTORNEY
                                               STATES ATTORNEYS
                                               Lindsey Lazopoulos Friedman   Stewart Abrams
Hon. K. Michael Moore                          & Yisel Valdes
TRIAL DATE(S)                                  COURT REPORTER                COURTROOM DEPUTY
03/02/2020                                                                   Robin Godwin
 USA.     DEF.    DATE     MARKED   ADMITTED                  DESCRIPTION OF EXHIBITS
 NO.      NO.    OFFERED

                           CROWLEY INDEPENDENT SCHOOL DISTRICT
                                               Emails      between        Debra         Eblen       and
 100               3/2                 3/2     drowland@steelefreeman.org 10/10/2018

                                               Email      from        Deborah        Cranford       to
 101               3/2                 3/2     drowland@steelefreeman.org 10/11/2018 and 10/15/2018

                                               Email from drowland@steelefreeman.org       to   Deborah
 102               3/2                 3/2     Cranford 10/12/2018

                                               Email from Deborah Cranford to ‘Dena Rowland’ 10/17/2018
 103               3/2                 3/2


                                               Email from Cindy Hankey to drowland@steelefreeman.org
 104               3/2                 3/2     10/18/2018


                                               Emails      between       Cindy       Hankey        and
 105               3/2                 3/2     drowland@steelefreeman.net to Cindy Hankey 10/24/2018

                                               Email from Cindy Hankey to ‘DENA ROWLAND’
 106               3/2                 3/2     10/24/2018 at 8:57 am


 107               3/2                 3/2     Email from drowland@steelefreeman.net 10/25/2018

                                               Email from Cindy Hankey to ‘DENA ROWLAND’
 108               3/2                 3/2     10/25/2018 at 8:39 am
                                               Check 600520 to Steele-Freeman, Inc. in the amount of
                                               $1,473,126.54
 109               3/2                 3/2
                                               Check 600521 to Steele-Freeman, Inc. in the amount of
                                               $522,588.98
 110               3/2                 3/2
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 111             3/2                 3/2      Journal Entry for Checks dated 11/08/2018
                                              Bank Statement for Chase Bank Account ending in 9000 for
 112             3/2                 3/2      November 1, 2018 through November 30, 2018


 113             3/2                 3/2      Steele & Freeman, Inc. Application ($1,473,126.54)

 114             3/2                 3/2      Steele & Freeman, Inc. Application ($522,588.98)

                                           IBERIA BANK


 200             3/2                 3/2      Iberia Bank Account Agreement for Account Ending in 1139
                                              Iberia Bank Account Statement for Account Ending in 1139
 201             3/2                 3/2      dated 10/15/2018
                                              Iberia Bank Account Agreement for Account Ending in 4241
 202             3/2                 3/2      dated 10/15/2018
                                              Iberia Bank Account Statement for Account Ending in 4241
 203             3/2                 3/2      dated 10/31/2018

                                              Iberia Bank Account Statement for Account Ending in 1139
 204             3/2                 3/2      dated 11/15/2018 (with copies of checks)
                                              Iberia Bank Account Statement for Account Ending in 4241
 205             3/2                 3/2      dated 11/30/2018 (with copies of checks)

                                              Iberia Bank Account Statement for Account Ending in 1139
 206             3/2                 3/2      dated 11/16/2018 through 12/16/18 (with copies of checks)

207A–
  K              3/3                 3/3      Screenshots of Video Surveillance

 209             3/3                 3/3      Email from Lazaro Berlanga to Randy Woodall 11/19/2018

 210             3/3                 3/3      Attachment to Lazaro Berlanga Email Transaction History

 211             3/3                 3/3      Deposit Inquiry

 212             3/3                 3/3      Deposit Inquiry

 213             3/3                 3/3      Deposit Inquiry

214A             3/3                 3/3      Cashier’s Check – Bank Credit Copy – $72,000 – 11/14/18

214B             3/3                 3/3      Cashier’s Check – Bank Credit Copy - $9,500 –11/14/18

214C             3/3                 3/3      Cashier’s Check – Bank Credit Copy - $9,500 – 11/16/18

 215             3/3                 3/3      All Cashier’s Checks
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 216             3/3                 3/3     Map of Iberia Bank Locations and List of Transactions
                                      BMW PURCHASE


 300             3/3                 3/3     Contract for BMW
301A-
  D              3/3                 3/3     Photographs of M3

 302             3/3                 3/3     8300 Checklist

 303             3/3                 3/3     Copy of Wire

 304             3/3                 3/3     OFAC Inquiry

 305             3/3                 3/3     Screenshot of Accounts

 306             3/3                 3/3     Vehicle Registration

 307             3/3                 3/3     Copy of Conkright DL

 308             3/3                 3/3     Copy of Conkright Geico Insurance

 309             3/3                 3/3     Deal Summary

 310             3/3                 3/3     Application for Vehicle Title

 311             3/3                 3/3     Certificate of Origin for Vehicle

 312             3/3                 3/3     Motor Vehicle Title Reassignment Supplement

 313             3/3                 3/3     Braman Motor Rebate Form

 314             3/3                 3/3     Service Contract

 315             3/3                 3/3     State Specific Amendments

 316             3/3                 3/3     BMW Full Maintenance Program Upgrade Agreement

 317             3/3                 3/3     Menu of Program Choices

 318             3/3                 3/3     Braman Assurances

 319             3/3                 3/3     Acknowledgment

 320             3/3                 3/3     Customer Receipt and Documents Disclosure

 321             3/3                 3/3     Customer Form

 322             3/3                 3/3     Hope Scholarship Contribution Election Form
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 323             3/3                 3/3     Outstanding Balance Form

 324             3/3                 3/3     Informational Sheet

 325             3/3                 3/3     Authorization and Consent Form

 326             3/3                 3/3     Supplemental Conditions

 327             3/3                 3/3     Vehicle Air Pollution Control Statement

 328             3/3                 3/3     Lemon Law Disclosure

 329             3/3                 3/3     Insurance Affidavit

 330             3/3                 3/3     Power of Attorney

331A             3/3                 3/3     CD of Video Surveillance
331B-
  H              3/3                 3/3     Screenshots of Video Surveillance

 332             3/3                 3/3     Odometer Disclosure

 333             3/3                 3/3     New Tag Form

 334             3/3                 3/3     Application for certificate of title
                                      KIRK JEWELERS
                                             Receipt with Order Date November 16, 2018 and $2,000
 400             3/3                 3/3     Deposit
                                             Transaction Record with Receipt, Copy of DL and Copy of
 401             3/3                 3/3     Credit Card

 402             3/3                 3/3     Transaction Receipt Showing Full Payment Made
403A-
  B              3/3                 3/3     Photographs of Rolexes

404A-F           3/3                 3/3     Screenshots of Video Surveillance

405A             3/3                 3/3     Text Messages
                                           INTERTECH


 500             3/3                 3/3     Copy of Check to Intertech

 501             3/3                 3/3     Invoice Dated November 15, 2018

 502             3/3                 3/3     Airway Bill

 503             3/3                 3/3     Booking Certification
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504             3/3                 3/3     Cargo Certification Statement

505             3/3                 3/3     Shipping Label

507             3/3                 3/3     Suntrust Deposit Slip
                                     TEXT MESSAGES


601             3/3                 3/3     Selected Text Messages
                                          FEDEX


700             3/3                 3/3     Shipping Information for Tracking Number ending in 1342

701             3/3                 3/3     Transaction Summary for Tracking Number ending in 1342

702             3/3                 3/3     Shipping Labels for Tracking Number Ending in 1342

703             3/3                 3/3     Commercial Invoice for Tracking Number Ending in 1342

704             3/3                 3/3     Customs Form for Tracking Number Ending in 1342
                                            Shipping Information Report for Tracking Number ending in
705             3/3                 3/3     3337

706             3/3                 3/3     Transaction Summary for Tracking Number ending in 3337

707             3/3                 3/3     Shipping Labels for Tracking Number Ending in 3337

708             3/3                 3/3     Commercial Invoice for Tracking Number Ending in 3337

709             3/3                 3/3     Customs Form for Tracking Number Ending in 3337
                                 DEFENDANT’S INTERVIEW


800             3/3                 3/3     CD of Video-Recorded Interview

801             3/3                 3/3     Transcript of Interview

802             3/3                 3/3     Written Waiver of Miranda Rights
                                      WELLS FARGO


900             3/3                 3/3     Consumer Account Application Dated 12/01/2017
                                            Wells Fargo Account Statement for Account ending in 4657
901             3/3                 3/3     for 12/29/17-01/29/18
                                            Wells Fargo Account Statement for Account ending in 4657
902             3/3                 3/3     for01/30/2018-02/28/18
                                            Wells Fargo Account Statement for Account ending in 4657
903             3/3                 3/3     for 03/01/18-03/27/18
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                                        Wells Fargo Account Statement for Account ending in 4657
904             3/3             3/3     for03/28/18-04/26/18
                                        Wells Fargo Account Statement for Account ending in 4657
905             3/3             3/3     for 04/27/18-05/25/18

908            3/3                   3/3     Transaction Details for Cash Withdrawals

910            3/3                   3/3     Letter Closing Account

911            3/3                   3/3     Emails – In Touch Ministries

911A           3/3                   3/3     Jet Linx Aviation – New Bank Information (Wells Fargo)

911B           3/3                   3/3     Jet Linx Aviation – New Bank Information (Banamex)

912            3/3                   3/3     In Touch Ministries Vendor Transaction

914            3/3                   3/3     ACH Return/NOC Report

916            3/3                   3/3     Email – In Touch Ministries - April 23, 2018

917            3/3                   3/3     Jet Linx Invoice – May 2, 2018
                     DEFENDANT DEPARTMENT OF DEFENSE RECORDS


5000           3/3                   3/3     Department of Defense Record for Defendant
